
Whitakee, Judge,
delivered the opinion of the court:
Plaintiff sues to recover taxes assessed by Cuyahoga County, Ohio, against two parcels of land in said county, which parcels, together with eight others, were condemned by the United States on April 22,1942, for a housing project known as Lake Shore Village. Defendant pleads the statute of limitations.
The petition for condemnation was filed April 22, 1942. It sought to condemn “the fee simple absolute discharged of all liens, encumbrances, charges, claims, restrictions, and *434covenants whatsoever.” At the same time, defendant filed a declaration of taking of “the full fee simple title.” Coincident with the filing of the declaration of taking, defendant paid into the registry of the court its estimate of just compensation.
On the following day the court entered a decree vesting the fee simple title in the United States. The decree was recorded in the land records of Cuyahoga County on May 4, 1942.
Defendant went into possession shortly after the filing of the declaration of taking. The project was completed in June 1944.
Plaintiff’s petition was filed April 13, 1953, nearly eleven years after the taking. It is barred by the statute of limitations.
Upon the entry of the decree of the District Court on April 23,1942, fee simple title to the land was vested in the United States. Thereupon, all, who prior thereto had any sort of title to the land or lien upon it, were divested of their title or lien, and there was substituted therefor an obligation on the United States to pay them just compensation for their interests.
Irrespective of the proper forum in which to assert such a claim, it is obvious that it must be asserted within six years from the date of the entry of the decree vesting title in the United States. It was then that plaintiff’s claim accrued. The United States has consented to suit against it only on condition that it be brought within six years from the time the action accrues. This suit, having been brought more than six years after plaintiff’s action accrued, is barred, and we have no jurisdiction to consider it.
Plaintiff says the County was not made a party to the condemnation proceedings in the District Court and, therefore, that it is not bound by them. Even if we concede this — which we do not — still, plaintiff had to assert its claim in some forum within six years from the time its interest in the property was taken. This it did not do.
What happened in the condemnation proceedings is beside the point. The point is, does this court have jurisdiction? *435We do not have, because plaintiff’s claim was not -filed here within six years from the time it arose.
As a matter of fact, plaintiff’s remedy was in the District Court. Upon the vesting of title in the United States by decree of the District Court, that court had jurisdiction to determine just compensation, and jurisdiction to determine to whom it should be distributed. Every one claiming any interest in the property and who had notice of the proceedings were required to appear and assert their claims. It is admitted that the County had actual knowledge of the proceedings. It was obliged to have had. It was in that forum that it should have asserted its claim. Had it done so, that court undoubtedly would have protected its rights.
Instead, it relied upon some sort of alleged informal understanding it had with the Special Assistant United States Attorney, which, it says, was overlooked when disbursement of the funds were made. However that may be, that court entered a decree determining just compensation for the property, and the United States has paid into court the amount determined. That payment fully discharged the United States of its obligation, at least as to all claims not asserted within six years of the taking.
Plaintiff’s petition will be dismissed.
It is so ordered.
Laramore, Judge, and Madden, Judge, concur.
